Case 2:21-cv-07293-FMO-AFM Document 64 Filed 08/18/22 Page 1 of 4 Page ID #:473



    1   STEVEN J. ROTHANS-STATE BAR NO. 106579
        KATRINA J. VALENCIA-STATE BAR NO. 230931
    2   CARPENTER, ROTHANS & DUMONT LLP
        500 S. Grand Avenue, 19th Floor
    3   Los Angeles, CA 90071
        (213) 228-0400 / (213) 228-0401 (Fax)
    4   srothans@crdlaw.com; kvalencia@crdlaw.com
    5   Attorneys for Defendant,
        CITY OF BALDWIN PARK, a Public Entity
    6
    7
    8                         UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
   10
   11   ANTHONY ROMERO, an Individual. )             Case No. 2:21-cv-07293-FMO-AFM
                                        )
   12              Plaintiff.           )            [Assigned to the Hon. Fernando M.
                                        )            Olguin]
   13         v.                        )
                                        )             STIPULATION AND JOINT
   14   CITY OF BALDWIN PARK, a         )
        Municipal Entity, OFFICER RYAN  )             REQUEST FOR DISMISSAL
   15   FELTON, SERGEANT JOSEPH         )             OF ENTIRE ACTION WITH
        MEISTER, AND DOES 1 through 10, )             PREJUDICE
   16   Inclusive.                      )
                                        )
   17              Defendants.          )
                                        )
   18
   19
   20         TO THE HONORABLE COURT:
   21         IT IS HEREBY STIPULATED by and between, Plaintiff ANTHONY
   22   ROMERO (“Plaintiff”) and Defendants CITY OF BALDWIN PARK, OFFICER
   23   RYAN FELTON, and SERGEANT JOSEPH MEISTER (“Defendants”) (collectively
   24   herein referred to as "Parties"), by and through their attorneys of record, as follows:
   25         1.     Pursuant to the Court's August 2, 2022, order [Doc. 63], the Court
   26   retained jurisdiction over the instant action for an additional 30 days so that the parties'
   27   settlement could be finalized.
   28   //
                                                     -1-
             STIPULATION RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 2:21-cv-07293-FMO-AFM Document 64 Filed 08/18/22 Page 2 of 4 Page ID #:474



    1         2.     As of August 8, 2022, the release was finalized and settlement funds were
    2   sent to Plaintiff’s counsel of the parties has been finalized.
    3         3.     Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a plaintiff
    4   may dismiss an action without a court order by filing a stipulation of dismissal signed
    5   by all parties who have appeared.
    6         4.     In light of the foregoing, the parties hereby stipulate that there is Good
    7   Cause to dismiss with prejudice the entire action and all remaining claims/causes of
    8   action and parties therein.
    9                             STIPULATION FOR DISMISSAL
   10         5.     Therefore, in light of all of the foregoing, the parties hereby stipulate to
   11   the following dismissals with prejudice as to all of plaintiff's remaining claims/causes
   12   of action and the entire civil action.
   13         6.     Plaintiff hereby stipulates (and the signatory parties stipulate) to dismiss
   14   with prejudice all of plaintiff's claims/causes of against Defendants CITY OF
   15   BALDWIN PARK, OFFICER RYAN FELTON, and SERGEANT JOSEPH
   16   MEISTER (“Defendants”) in their entirety.
   17         7.     To the extent that plaintiff alleges any other claims against any other
   18   parties or DOES in this action, plaintiff hereby stipulates to dismiss with prejudice
   19   any and all such claims and causes of action.1
   20         8.     Plaintiff hereby stipulates and requests the dismissal with prejudice of
   21   the entire action – including all claims by the plaintiff against any and all defendants,
   22   DOES and/or parties thereto, including all remaining claims against any parties to the
   23   above entitled lawsuit.
   24         9.     This Stipulation may be signed in counterpart and a facsimile or
   25   electronic signature shall be as valid as an original signature.
   26         10.    [Signature Attestation.] Pursuant to C.D. Cal. Local Rule 5-4.3.4(a)(2)(i),
   27   the undersigned hereby certify that the content of this document is acceptable to all
   28   parties listed above, by and through their counsel of record, and that each has obtained
                                                    -2-
            STIPULATION RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 2:21-cv-07293-FMO-AFM Document 64 Filed 08/18/22 Page 3 of 4 Page ID #:475



    1   authorization from each party’s counsel to affix their electronic signatures to this
    2   document.
    3   IT IS SO STIPULATED.
    4
    5   DATED: August 18, 2022               CARPENTER, ROTHANS & DUMONT LLP
    6
                                       By: /s/ Katrina J. Valencia
    7                                      STEVEN J. ROTHANS
    8                                      KATRINA J. VALENCIA
                                           Attorneys for Defendant
    9                                      CITY OF BALDWIN PARK, a Public Entity

   10   DATED: August 18, 2022                         HAIGHT BROWN & BONESTEEL
   11
                                          By: /s/ S. Christian Stouder
   12                                         S. CHRISTIAN STOUDER
   13                                         Attorneys for Defendant
                                              SERGEANT JOSEPH MEISTER, a public
   14
                                              employee
   15
   16   DATED: August 18, 2022                         JONES & MAYER
   17
                                          By: /s/ James R. Touchstone
   18                                         JAMES R. TOUCHSTONE
   19                                         MELISSA M. BALLARD
                                              Attorneys for Defendant
   20                                         OFFICER RYAN FELTON, a public
   21                                         employee
   22   Date: August 8, 2022                 THE OUCHI LAW FIRM, A.P.C.
   23
   24                                  By:    /s/ Wesley G. Ouchi
                                              WESLEY G. OUCHI
   25                                         Counsel for Plaintiff,
   26                                         ANTHONY ROMERO

   27   //
   28   //
                                                 -3-
             STIPULATION RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 2:21-cv-07293-FMO-AFM Document 64 Filed 08/18/22 Page 4 of 4 Page ID #:476



    1          Per L.R. 5-4.3.4(a)(2) I hereby attest that all other signatories listed, and on
    2   whose behalf the filing is submitted, concur in the filing’s content and have authorized
    3   the filing.
    4   DATED: August 18, 2022                CARPENTER, ROTHANS & DUMONT LLP
    5
    6
                                        By: /s/ Katrina J. Valencia
    7
                                            STEVEN J. ROTHANS
    8                                       KATRINA J. VALENCIA
                                            Attorneys for Defendant
    9                                       CITY OF BALDWIN PARK, a Public Entity
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                   -4-
            STIPULATION RE DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
